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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


   EAST BRUNSWICK TOWNSHIP
   BOARD OF EDUCATION,

                         Plaintiff,                Case No. 2:21-cv-08279 (BRM) (JSA)

                         v.
                                                                  ORDER
   D.S. and M.S. o/b/o A.S.,

                         Defendants.


         THIS MATTER is before the Court on Defendant D.S. and M.S., on behalf of A.S.’s

  (collectively “Defendants”) Motion for Reconsideration. (ECF No. 63.) Defendants seek

  reconsideration of the Court’s Order and Opinion (ECF Nos. 60, 61), granting in part and

  denying in part Defendants’ Motion for Summary Judgment (ECF No. 57).

         IT APPEARING THAT:

  1.     On July 28, 2023, the Court entered an Order and corresponding Opinion, granting in

  part and denying in part Defendants’ Motion for Summary Judgment. (ECF Nos. 60, 61.) The

  Court denied Defendants’ Motion insofar as it sought attorney’s fees and costs, citing a lack of

  evidence supporting the hours worked and rates claimed. (Id.) The denial, which included no

  indication to the contrary, was entered without prejudice.

  2.     Thereafter, on August 4, 2023, Defendants filed a Motion for Reconsideration, strictly

  regarding the issue of attorney’s fees and costs. (ECF No. 63.) In sum and substance,

  Defendants contend they included their argument for fees in the Motion for Summary Judgment

  as a means of preserving the right to bring a separate application upon the Court’s declaring

  them the prevailing party, and not for the Court’s determination at that time. (Id.) Defendants
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  ask the Court to reconsider its Order denying summary judgment, and to allow Defendants the

  time to file an application for fees. (Id.)

  3.      BOE did not file a response to Defendants’ Motion for Reconsideration, citing its

  intention to appeal the decision. (ECF No. 68.)

  4.      On August 25, 2023, BOE filed a Notice of Appeal of the Order and Opinion. (ECF No.

  69.)

  5.      Defendants’ Motion for Reconsideration is improperly before this Court, as it fails to

  set forth any matter or decision the Court “overlooked.” L. Civ. R. 7.1(i); see also Bowers v.

  Nat’l Collegiate Athletic Ass’n, 130 F. Supp. 2d 610, 612 (D.N.J. 2001) (“The word

  ‘overlooked’ is the operative term in the Rule.”). When the assertion is that the Court

  overlooked something, the Court must have overlooked some dispositive factual or legal matter

  that was presented to it. See L.Civ.R. 7.1(i).

  6.      Here, the Court did not overlook any issue requiring reconsideration. In Defendants’

  Motion for Summary Judgment, Defendants argued “summary judgment should be entered in

  favor of Defendants, including all fees and costs.” (ECF No. 57-1 at 40 (emphasis added).) The

  Court granted summary judgment in Defendants’ favor, and therefore, moved on to Defendants’

  request for attorney’s fees and costs as raised in the Motion. Because the Court had insufficient

  information to grant fees, and for the reasons set forth in the Opinion, the Court denied the

  Motion, without prejudice, to the extent attorney’s fees and costs were requested. (ECF No. 60

  at 28–30.) Defendants may, after resolution of the pending Appeal (ECF No. 69), file a formal

  motion for attorney’s fees and costs.

          IT IS on this 31st day of August 2023,




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         ORDERED that Defendants’ Motion for Reconsideration (ECF No. 63) is denied.

  Defendants are permitted to file a formal motion for attorney’s fees and costs, consistent within

  the time and bounds set forth by the Rules of Court.

                                                               /s/ Brian R. Martinotti__________
                                                               HON. BRIAN R. MARTINOTTI
                                                               UNITED STATES DISTRICT JUDGE




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